   EXHIBIT A




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                                                                                   TRUMP v. WEC TIME ENTRIES

Date            JAM Description               JAM Hours          RES Description           RES Hours         RAM Description           RAM Hours         Description (Others)   Hours
1-Dec
        [Trump] - Review Trump v. WEC                 2.4 [Trump] - Conference calls              0.6 [Trump] - Conference calls and               0.6
        complaint (1.1); telephone                        and email exchange with Mr.                 email exchange with Mr.
        conference with VPP team (0.7);                   Mandell, Mr. Manthe, and co-                Mandell, Ms. Snyder, and co-
2-Dec   intraoffice conferences and                       counsel re Trump v. WEC                     counsel re Trump v. WEC
        emails re Trump v. WEC                            complaint.                                  complaint.
        complaint (0.6).

        [Trump] - Draft and file letter to            5.2 [Trump] - Conference with               1.2 [Trump] - Outline arguments                  1.5
        Judge Ludwig (0.8); email                         Mr. Mandell re Trump case                   against Trump v. WEC motion
        exchanges and telephone                           (0.2); Zoom conference with                 for TRO.
3-Dec
        conferences with VPP team (4.2);                  co-counsel re Trump case
        conference with Ms. Snyder re                     (1.0).
        Trump case (0.2).
        [Trump] - Email exchanges and                 7.8 [Trump] - Conference calls              6.5 [Trump] - Draft brief opposing               7.8
        telephone conferences with VPP                    with co-counsel and clients re              Trump's motion for TRO (5.3);
        team re Trump case (2.4);                         Trump case (1.9); conference                phone conference with
        telephone conference with DOJ                     call with co-defendants re                  counsel for co-defendants
        team, Mr. Nilsestuen, and Mr.                     Trump case (1.3); attend                    (1.0); attend court scheduling
        Eisen re Trump case (0.9);                        scheduling conference (1.5);                conference (1.5).
        prepare for and lead telephone                    review draft brief in
        conference among defendants in                    opposition to Trump TRO
4-Dec   Trump case (1.7); prepare for and                 request (1.8).
        participate in scheduling
        conference in Trump case (1.5);
        divvy up work for TRO briefs in
        Trump case (0.4); email
        exchanges with team (0.9).




        [Trump] - Telephone conference                1.2 [Trump] - Telephone                     0.7 [Trump] - Email exchanges with               0.3
        with Mr. Nilsestuen re Trump                      conference with Mr. Mandell                 Ms. Snyder and Mr. Mandell re
        case (0.2); telephone conferences                 re Trump case (0.4); email                  Trump case.
        with Ms. Snyder re Trump case                     exchanges with Mr. Mandell
        (0.4); email exchanges with Mr.                   and Mr. Manthe re Trump
5-Dec
        Roth re Trump case (0.3); email                   case (0.3).
        exchanges with Ms. Snyder and
        Mr. Manthe re Trump case (0.3).




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        [Trump] - Email exchange with                1.0                                     0                                     0
        defense counsel in Trump case
        (0.4); telephone conference with
6-Dec
        Mr. O'Neill re Trump case (0.3);
        review Trump's witness list (0.3).

        [Trump] - Telephone conference               8.9 [Trump] - Begin drafting           6.1 [Trump] - Draft brief opposing    8.5
        with other defense counsel in                    Trump v. WEC brief in support          motion for injunction in Trump
        Trump case (1.0); telephone                      of motion to dismiss (3.9);            case (6.3); conference with
        conference and follow-up email                   status call with counsel for co-       counsel for co-defendants re
        exchange with Dr. Burden (0.6);                  defendants in Trump case               Trump case (1.0); conference
        research and begin drafting brief                (1.0); conference call with Mr.        with Mr. Mandell and Ms.
        in support of motion to dismiss in               Mandell and Mr. Manthe re              Snyder re brief in Trump case
7-Dec
        Trump case (6.1); telephone                      brief in Trump case (1.2).             (1.2).
        conferences, email exchanges,
        and instant messages with Ms.
        Snyder and Mr. Manthe (1.2).




        [Trump] - Review, revise, finalize,         11.4 [Trump] - Continue drafting        7.7 [Trump] - Draft brief opposing    7.9 LEC: Email exchange with      1.5
        and file briefs in Trump case                    and finalize motion to dismiss         motion for injunction in Trump        Mr. Mandell (0.2); research
        (8.7); email exchanges with Mr.                  (0.6), brief in support of             case (6.6); conference with Mr.       regarding FRCP 12(i); (1.1)
        Wessler re Trump case (0.3);                     motion to dismiss (2.6), and           Mandell, Ms. Snyder, and co-          prepare email to Mr.
        email exchange with Mr.                          brief in opposition to TRO             counsel regarding the same            Mandell regarding the same
        Shackelford re Trump case (0.2);                 (3.4); conference with Mr.             (1.1); instant message                and 7th Circuit caselaw
        instant message exchange and                     Mandell, Mr. Manthe, and co-           exchange and telephone                interpreting or using Rule
        telephone conferences with Mr.                   counsel re Trump case (1.1).           conferences with Mr. Mandell          12(i) (0.2).
        Manthe re Trump case (0.2);                                                             re Trump case (0.2)
        review DOJ motion to stay
8-Dec   evidentiary hearing in Trump
        case (0.3); telephone conferences
        with Ms. Eyers re Trump case
        (0.4); telephone conference with
        Mr. Manthe, Ms. Snyder and co-
        counsel re Trump case (1.1);
        email exchange with Ms. Callan
        re FRCP 12(i) (0.2).




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         [Trump] - Prepare for and                  12.1 [Trump] - Prepare exhibits for   8.1 [Trump] - Draft reply brief in    12.2
         participate in pretrial conference              evidentiary hearing in Trump         support of motion to dismiss in
         in Trump case (4.2); host three                 case (1.0); conference calls         Trump case (5.9); attend pre-
         separate alignment calls among                  with co-defendants (1.9);            trial conference in Trump case
         defense counsel in Trump case                   conference call with Mr.             (2.0); conference with Mr.
         (1.9); participate in meet-and-                 Mandell, Mr. Manthe, and co-         Mandell, Ms. Snyder and co-
         confer telephone conference                     counsel (1.0); participate in        counsel (1.0); assist in
         with Plaintiff's counsel (1.0);                 pre-trial conference call ith        preparations for merits hearing
         review draft motion in limine                   opposing counsel, co-counsel,        in Trump case (3.3).
         (0.4); telephone conferences with               co-defendants, and Judge
         Mr. Nilsestuen re Trump case                    Ludwig (2.0); assist with
         (0.7); review Bowyer and                        prepration for hearing in
9-Dec
         decision (0.6); telephone                       Trump case (2.2).
         conferences with VPP team re
         use of Bowyer and Feehan
         decisions in Trump case (2.1);
         telephone conferences with Ms.
         Brook (0.5); telephone
         conferences with Ms. Snyder, Mr.
         Manthe, and Ms. Eyers re Trump
         case (0.7).




         [Trump] - Prepare for and                  12.7 [Trump] - Prepare for (1.3)      7.6 [Trump] - Conference with Mr.      7.7
         participate in trial of Trump case              and attend evidentiary               Mandell, Ms. Snyder, and co-
         (10.6); VPP telephone                           hearing (5.5); conference with       counsel in preparation for
         conferences (1.3); conference                   Mr. Mandell, Mr. Manthe,             merits hearing (.8); assist Mr.
10-Dec   with Mr. Mandell, Mr. Manthe,                   and co-counsel (.8).                 Mandell in preparation for
         and co-counsel (.8).                                                                 merits hearing (1.2); attend
                                                                                              merits hearing (5.7).



         [Trump] - Draft, revise, finalize,          3.4 [Trump] - Draft two notices of   3.7 [Trump] - Review decision of       2.3
         and file subsequent authority                   supplemental authority and           state court in Trump v. Biden
         notice in Trump case (1.2); email               prepare for filing (2.1);            (.7); conference with Mr.
         exchanges with VPP team (0.4);                  conference with Mr. Mandell,         Mandell, Ms. Snyder and co-
11-Dec   conference with Ms. Snyder, Mr.                 Mr. Manthe, and co-counsel           counsel (1.6).
         Manthe, and co-counsel (1.6);                   (1.6).
         email exchange with Prof. Sherry
         (0.2).




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         [Trump] - Review Judge Ludwig's            3.0 [Trump] - Review court order.   0.8
         decision in Trump case (1.2);
         review appeal paperwork in
         Trump case (0.4); email
12-Dec   exchanges and telephone
         conferences with co-counsel and
         with co-defendants re decision in
         Trump case (1.4).

         [Trump] - Telephone conference             1.3
         with Mr. Nelson; telephone
         conferences with Mr. Devaney;
         telephone conference with Mr.
13-Dec
         Roth; email exchanges with VPP
         team; text exchange with Mr.
         Nilsestuen.

         [Trump] - Review briefing                  2.1 [Trump] - Email exchanges       0.8 [Trump] - Email exchanges with   0.8
         schedule for Seventh Circuit in                with Mr. Mandell and Mr.            Mr. Mandell and Ms. Snyder re
         Trump appeal (0.2); email                      Manthe re collateral                collateral estoppel.
         exchanges with counsel for WEC                 estoppel.
         and municipalities in Trump case
14-Dec   (0.4); email exchanges with VPP
         team re Trump case (0.7); email
         exchanges with Ms. Snyder and
         Mr. Manthe re collateral estoppel
         (0.8).




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         [Trump] - Email exchanges with             5.6 [Trump] - Prepare outline for     4.4 [Trump] - Email exchanges with     5.3
         Mr. Manthe re Trump appeal                     appellate response brief in           Mr. Mandell (.3); research
         (0.3); email exchanges with                    Trump case (2.7); conference          regarding response to appeal
         counsel for co-defendants in                   with Mr. Mandell and Mr.              (3.3); call with counsel for co-
         Trump appeal (0.9); telephone                  Manthe re Trump case (.7);            defendants regarding briefing
         conference with Mr. Roth re                    conference call with co-              strategy (1.0); telephone
         Trump appeal (0.6); telephone                  defendants and co-counsel             conference with Mr. Mandell
         conference with Ms. Brook (0.5);               regarding response brief              and Ms. Snyder re Trump case
         prepare for and lead call among                (1.0).                                (0.7).
15-Dec
         all Trump defense counsel (1.8);
         follow-up email to all defense
         counsel in Trump case (0.8);
         telephone conference with Ms.
         Snyder and Mr. Manthe re Trump
         case (0.7).




         [Trump] - Telephone conference             5.6 [Trump] - Conference with         6.8 [Trump] - Research for             8.6
         with Mr. Manthe and Ms. Snyder                 Mr. Mandell and Mr. Manthe            appellate response brief (6.0);
         re Trump briefing (0.6); email                 (0.6); draft portions of the          draft response brief (2.0);
         exchanges with other                           appellate repsonse brief (6.2).       conference with Mr. Mandell
16-Dec
         defendants' counsel in Trump                                                         and Ms. Snyder (0.6).
         case (0.8); review Trump
         appellate brief (4.2).

         [Trump] - Telephone conferences           12.4 [Trump] - Conference and          6.7 [Trump] - Draft appellate brief    7.4
         with Ms. Eyers re Trump appeal                 email exchanges with Mr.              (4.6); research regarding
         (0.2); telephone conference and                Mandell and Mr. Manthe                jurisdictional statements (1.5);
         email exchanges with Mr.                       (0.5); legal research regarding       telephone conference with co-
         Manthe and Ms. Snyder (0.5);                   jurisdictional statements and         counsel (0.8); telephone
         email exchanges with counsel for               federal rules of appellate            conference and email
         other defendants in Trump case                 procedue (1.4); email                 exchanges with Mr. Mandell
17-Dec   (1.4); telephone conference with               exchange with co-counsel and          and Ms. Snyder (0.5).
         Ms. Brook (0.3); stitch together,              co-defendants (0.6); draft
         review, and revise brief (9.6);                appellate response brief (4.2).
         email exchange with Mr. Curtis re
         Trump brief (0.4).




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         [Trump] - Review, revise, finalize,          9.0 [Trump] - Revise and finalize     4.7 [Trump] - Draft appellate brief    6.8
         and file brief and appendix in                   appellate response brief (4.1);       (6.2); conferences with Mr.
         Trump appeal (6.5); email                        conferences with Mr. Mandell          Mandell and Ms. Snyder (0.6).
         exchanges and telephone                          and Mr. Manthe (0.6).
         conferences with counsel for
         other defendants (1.4);
18-Dec
         telephone conference with Ms.
         Brooke (0.2); telephone
         conferences with Ms. Eyers (0.3);
         telephone conferences with Ms.
         Snyder and Mr. Manthe (0.6).

19-Dec
         [Trump] - Review Trump reply                 1.3
         brief to Seventh Circuit (1.0);
20-Dec   email exchange with Mr. Curtis
         (0.2); send Trump reply brief to
         VPP team (0.1).
         Email exchange and telephone                 0.3 [Trump] - Review Seventh          1.8 [Trump] - Review reply brief of    0.4
         conference with Ms. Eyers re                     Circuit rules for brief               appellants.
         printed briefs for Seventh Circuit.              submission (0.5); conference
21-Dec                                                    with Ms. Eyers (0.2); review
                                                          appellate reply brief (1.1).


22-Dec
23-Dec
         [Trump] - Review Seventh Circuit             0.8
         decision affirming judgment in
24-Dec   Trump case (0.6); email
         exchanges with VPP team (0.2).

25-Dec
26-Dec
27-Dec
28-Dec
         [Trump] - Email exchange with                0.8                                       [Trump] - Research regarding       0.9
         Mr. Manthe re costs in Trump                                                           attorney fees and costs (.8);
         appeal (0.1); review Trump                                                             email exchange with Mr.
         campaign cert. petition (0.5);                                                         Mandell re costs in appeal (.1).
29-Dec
         email exchange with Mr.
         Devaney and Mr. Goode re bill of
         costs in Trump appeal (0.2)




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         [Trump] - Emails re Trump cert             0.5                        [Trump] - Draft motion for         0.7
         petition in Trump v. Wisconsin                                        declaration of costs.
30-Dec   Elections Commission (0.3); email
         to Mr. Nelson (0.2).

31-Dec
 1-Jan
 2-Jan
 3-Jan
         [Trump] - Email exchange with              0.1                        [Trump] - Draft Bill of Costs in   0.2
         Mr. Manthe and Ms. Umberger                                           Trump appeal.
4-Jan
         re bill of costs in Trump appeal.

5-Jan                                               3.7
         [Trump] - Email exchanges re               0.2                        [Trump] - Prepare bill of costs    0.3
6-Jan    statement of costs in Trump                                           (.3)
         appeal (0.2).
         [Trump] - Email exchanges re               0.4                        [Trump] - Prepare bill of costs    0.2
         statement of costs in Trump                                           for filing
         appeal (0.2); email exchange with
7-Jan
         Mr. Nilsestuen re seeking costs
         and fees in Trump case (0.2).

8-Jan
9-Jan
10-Jan
         [Trump] - Exchange messages re             0.2
         Supreme Court denial of motions
11-Jan   to expedite cert. petitions in
         Trump appeals (0.2).

12-Jan
         [Trump] - Email exchange with              0.1
         Mr. Nelson about post-
13-Jan
         inauguration steps in Trump case
         (0.1).




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         [Trump] - Telephone conference             0.6                                      [Trump] - Telephone              0.2
         with Mr. Manthe re next steps in                                                    conference with Mr. Mandell
         Trump case (0.2); telephone                                                         re next steps in Trump case
         conference with Mr. Roth re next                                                    (0.2).
14-Jan   steps in Trump case (0.2);
         telephone conference with Mr.
         Gahnz re Trump v. WEC (0.2).



         [Trump] - Telephone conference             0.4 [Trump] - Conference with         0.9 [Trump] - Research regarding    1.7
         and email exchange with Ms.                    Mr. Mandell regarding Trump           mootness of Trump cert.
         Snyder re Trump case (0.3); email              v. WEC motion to dismiss              petition; draft motion to
         exchange with Mr. Nelson re                    (0.2); legal research regarding       dismiss cert. petition for
         Trump case (0.1).                              SCOTUS motions to dismiss             mootness; research regarding
15-Jan
                                                        Trump cert. petition (0.5);           fee petition in Trump.
                                                        email to Mr. Mandell
                                                        regarding SCOTUS rules (0.2).


16-Jan
17-Jan
         [Trump] - Telephone conference             1.7 [Trump] - Conference with         0.4 [Trump] - Conference with Mr.   0.1
         with Mr. Nelson re Trump appeal                Mr. Mandell and Mr. Manthe            Mandell and Ms. Snyder
         (0.2); conference with Ms. Snyder              regarding motion to dismiss           regarding motion to dismiss
         and Mr. Manthe re next steps in                Trump appeal (0.1); email             Trump appeal (0.1).
         Trump appeal (0.1); follow email               exchange with co-counsel
         exchange between Mr. Smith and                 regarding SCOTUS rules (0.1);
18-Jan
         Ms. Snyder re Trump appeal                     email exchange with Mr.
         (0.1); email to counsel for all                Smith re Trump appeal (0.2).
         defendants in Trump case (1.3).




         [Trump] - Email exchanges with             0.2
         other Trump defendants re
19-Jan
         waiver of cert response (0.2).




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         [Trump] - Telephone conferences           0.1 [Trump] - Research and draft     0.6
         with Ms. Snyder and Ms. Eyers re              waiver of response for Trump
         SCOTUS filings in Trump case                  v. WEC SCOTUS cert petition
         (0.1).                                        (0.5); telephone conferences
20-Jan
                                                       withMr. Mandell and Ms.
                                                       Eyers re SCOTUS filings in
                                                       Trump case (0.1).

         [Trump] - Review SCOTUS filings           0.1 [Trump] - Email to co-           0.1 [Trump] - Research regarding         0.4
         and emails about them in Trump                defendants regarding waiver          attorney fees in Trump case
21-Jan   case (0.1).                                   of response to Trump v. WEC          (0.4).
                                                       SCOTUS cert petition.

                                                                                              [Trump] - Draft outline of         1.1
22-Jan
                                                                                              Trump Fee Petition (1.1).
23-Jan
24-Jan
         [Trump] - Review Supreme Court            0.3 [Trump] - Email exchange         0.3 [Trump] - Draft outline of fee       0.4
         orders list for Trump case (0.1);             with Mr. Manthe and Mr.              petition arguments against
         email exchange with Mr. Manthe                Mandell re Trump case (0.1);         Trump (.3); email exchange
25-Jan
         and Ms. Snyder re Trump case                  email to opposing counsel            with Mr. Mandell and Ms.
         (0.1).                                        regarding Trump filings (0.2).       Snyder re Trump case (0.1).

         [Trump] - Email exchanges re fee          0.1
26-Jan
         petitions in Trump case.
         [Trump] - Emails regarding                0.2                                        [Trump] - Research for and         0.8
27-Jan   waivers of response to Trump                                                         draft fee petition brief in
         cert. petition (.2).                                                                 Trump case.
                                                                                              [Trump] - Draft brief in support   0.7
28-Jan                                                                                        of fee petition in Trump case.

29-Jan
30-Jan
31-Jan
1-Feb
2-Feb
3-Feb
4-Feb
5-Feb
6-Feb
7-Feb
8-Feb




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         [Trump] - Review Trump                    0.7 [Trump] - Review Trump         0.5 [Trump] - Email                  0.1
         supplemental brief in Supreme                 supplemental brief submitted       correspondence from Mr.
         Court (0.2); email exchange with              to SCOTUS (.5).                    Mandell (.1).
         Mr. Smith, Mr. Nelson, Mr.
         Shackelford, Ms. Brook, Mr.
         Morrissey, Ms. Snyder, and Mr.
         Manthe re Trump supplemental
9-Feb
         brief (0.1); email to Mr.
         Nilsestuen re Trump
         supplemental brief (0.1); email
         exchanges with counsel for other
         defendants in Trump case re
         Trump supplemental brief (0.3).

10-Feb
11-Feb
12-Feb
13-Feb
14-Feb
15-Feb
         [Trump] -Telephone conference             0.7                                   [Trump] - Telephone               0.3
         with Mr. Jones re Trump v. WEC                                                  conference with Mr. Mandell
         (0.4); telephone conference with                                                re Trump v. WEC (.3).
16-Feb
         Mr. Manthe re Trump v. WEC
         (0.3).

         [Trump] - Telephone conference            0.2                                   [Trump] - Email exchange with     0.1
         with Mr. Nilsestuen re Trump                                                    Mr. Mandell re timing of
         case (0.1); email exchange with                                                 Trump case at SCOTUS (.1).
17-Feb
         Mr. Manthe re timing of Trump
         case at SCOTUS (0.1).

                                                                                         [Trump] - Draft outline of        0.9
18-Feb
                                                                                         Trump fee petition (.9).
         [Trump] - Review blog post re             0.1                                   [Trump] - Draft outline for       0.5
         supplemental brief in Trump v.                                                  Trump fee petition (.3); revise
19-Feb
         WEC case (0.1).                                                                 Mr. Mandell's declaration (.2).

20-Feb
21-Feb
22-Feb
                                                                                         [Trump] - Correspond with co-     0.3
                                                                                         counsel regarding fee petitions
23-Feb
                                                                                         for Trump case (.3).



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24-Feb
25-Feb
26-Feb
27-Feb
28-Feb
                                                                                        [Trump] - Revise brief in         1.6
1-Mar                                                                                   support of petition for fees.

         [Trump] - Conference with Ms.             0.3 [Trump] - Conference with    0.3 [Trump] - Conference with Ms.     0.3
         Snyder and Mr. Manthe                         Mr. Mandell and Mr. Manthe       Snyder and Mr. Mandell
2-Mar    regarding fee petition strategy               regarding fee petition           regarding fee petition strategy
         and research plan (.3).                       strategy and research plan       and research plan (.3).
                                                       (.3).
3-Mar
4-Mar
5-Mar
6-Mar
7-Mar
         [Trump] - Review Supreme Court            0.3                                  [Trump] - Research regarding      0.2
         orders list for cert denial in                                                 fee petition (.2).
         Trump v. WEC (0.1); draft email
8-Mar
         to counsel for co-defendants in
         Trump v. WEC (0.2).

         [Trump] - Email exchanges with            0.5 [Trump] - Email exchange     0.1 [Trump] - Email exchange with
         counsel for co-defendants in                  with Mr. Manthe and Mr.          Mr. Mandell and Ms. Snyder re
         Trump v. WEC (0.3); email                     Mandell re Trump v. WEC          Trump v. WEC (0.1)
         exchange with Mr. Manthe and                  (0.1)
9-Mar    Ms. Snyder re Trump v. WEC
         (0.1); telephone conference with
         Mr. Nilsestuen (0.1).



         [Trump] - Review emails from Mr.          0.1                                  [Trump] - Research regarding      0.7
         Devaney and Mr. Kilpatrick re fee                                              fee petition (.7).
10-Mar
         issues in Trump case (0.1).




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         [Trump] - Review research memo            0.2 [Trump] - Research regarding       1.1 [Trump] - Research regarding          0.4
         re fees issues in Trump case (0.2).           district court jurisdiction over       fee petition (.4).
                                                       appellate fee petitions and
                                                       joint and several liability for
11-Mar                                                 fee awards (.9) email to Mr.
                                                       Mandell and Mr. Manthe
                                                       regarding the same (.2).



         [Trump] - Telephone conference            0.6 [Trump] - Conference with          0.5 [Trump] - Research regarding          1.9
         with Mr. Manthe and Ms. Snyder                Mr. Mandell and Mr. Manthe             fee petition (.5); call with Mr.
         re fee petitions in Trump case (.5)           regarding Trump fee petition           Mandell and Ms. Snyder
12-Mar
                                                       (.5)                                   regarding fee petition (.5);
                                                                                              draft Trump fee petition (.9).

13-Mar
14-Mar
         [Trump] - Telephone conference            0.5 [Trump] - Conference call          0.5 [Trump] - Draft Trump fee             4.1
         with Mr. Bach, Mr. Lenz, Ms.                  with Mr. Mandell and Mr.               petition brief (3.9); call with co-
         Snyder, and Mr. Manthe re                     Manthe and counsel for co-             defendants to discuss petition
         Trump v. WEC (0.4); telephone                 defendants regarding fee               strategy (.4).
15-Mar
         conference with Ms. Snyder re                 petitions (.4); conference with
         Trump v. WEC (0.1).                           Mr. Mandell regarding the
                                                       same (.1).

         [Trump] - Telephone conference            0.1                                        [Trump] - Draft brief in support      5.4
         with Ms. Rosenzweig re                                                               of fee petition in Trump matter
16-Mar   declaration in support of fee                                                        (5.4).
         petitions in Trump case (.1).

         [Trump] - Email exchange with             0.2                                        [Trump] - Draft Trump fee             3.2
17-Mar   Mr. Jones re Trump v. WEC (0.2).                                                     petition brief (3.2)

18-Mar
19-Mar
         [Trump] - Review and revise brief         3.7
         in support of fee petition in
20-Mar
         Trump v. WEC (3.7).

         [Trump] - Research, review, and           7.7
         revise brief in support of fee
21-Mar
         petition in Trump v. WEC (7.7).




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         [Trump] - Telephone conference           0.8 [Trump] - Conference call        0.6 [Trump] - Conference with Mr.      2.5
         with Mr. Manthe and Ms. Snyder               with Mr. Mandell and Mr.             Mandell and Ms. Snyder
         re fee petition in Trump (0.6);              Manthe regarding Trump               regarding fee petition briefs
         email exchanges and telephone                brief in support of motion for       (.6); revise brief in support of
22-Mar   conferences with other attorneys             fees (.6).                           fee petition in Trump matter
         about declaration in support of                                                   (1.9)
         fee petition in Trump (0.2).



         [Trump] - Email exchanges and            4.3 [Trump] - Email exchanges        0.2 [Trump] - Draft Trump fee          2.5
         telephone calls with other                   with Mr. Mandell and Mr.             petition (2.3); email exchanges
         counsel re fee petitions in Trump            Manthe re brief in support of        with Mr. Mandell and Ms.
         case (0.2); review and revise brief          fee petition in Trump case           Snyder re brief in support of
         in support of fee petition in                (0.2).                               fee petition in Trump case
23-Mar   Trump case (3.9); email                                                           (0.2).
         exchanges with Mr. Manthe and
         Ms. Snyder re brief in support of
         fee petition in Trump case (0.2).



         [Trump] - Draft declaration in           2.0 [Trump] - Review Mr. O'Neill's   0.1 [Trump] - Revise brief in          2.2
         support of Trump fee petition                Trump fee petition                   support of fees in Trump
         (1.6); telephone conference and              declaration (.1).                    matter (2.2).
         emails exchanges with attorneys
24-Mar
         submitting declarations in
         support of Trump fee petition
         (0.4).

         [Trump] - Review and revise              3.2 [Trump] - Review brief in        0.5 [Trump] - Draft brief in support    3
         declaration in support of fee                support of Trump fee petition        of fee petition in Trump matter
         petition in Trump case (1.6);                (.5).                                (2.8); telephone conference
         review and revise brief in support                                                with Mr. Mandell (.2).
         of fee petition in Trump case
25-Mar   (1.2); telephone conference with
         Mr. Manthe re Trump case (0.2);
         telephone conference with Mr.
         Nelson re fee petition in Trump
         case (0.2).




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         [Trump] - Review and revise brief         1.8 [Trump] - Conference with          0.5 [Trump] - Draft brief in support     3.2
         in support of fees in Trump case              Mr. Mandell re Trump fee               of fee petition in Trump matter
         (1.7); conference with Ms. Snyder             petition brief (.1); review and        (3.2).
26-Mar
         re fee petition brief (.1).                   edit Trump fee petition brief
                                                       (.4).

27-Mar
         [Trump- Telephone conference              0.3                                                                                   [Trump] - Edit brief in          6
         with Ms. Callan re brief on fee                                                                                                 support of petition for
         motion (.3).                                                                                                                    attorneys' fees and sanctions
28-Mar                                                                                                                                   (5.7); telephone conference
                                                                                                                                         with Mr. Mandell regarding
                                                                                                                                         the same (.3).

29-Mar
30-Mar
31-Mar

TOTAL                                            145.5                                   75.4                                    119.2                                   7.5




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                                     Billed Expenses

    Event      Exp     Date       Units   Value        Ref #    Text
   3PC3274      CA82   12/05/20                71.67   129355   Conference Call 12/04/20
                       12/23/20               183.60            Court Reporter Fee for 12/10 Hearing Transcript
  3PN2011      CA82    01/05/21                83.87   129495   Conference Call 12/07/2020
  3PN2012      CA82    01/05/21                87.56   129495   Conference Call 12/09/2020
  3PN2013      CA82    01/05/21               120.13   129495   Conference Call 12/09/2020
  3PN2014      CA82    01/05/21                18.07   129495   Conference Call 12/10/2020
Matter Total                                  564.90




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